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10
     Attorneys for the Defendants Valliance Bank, Shelby Bruhn,
11   and Katherine S. Bruhn

12                        IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF ARIZONA
13
     In re:                                              Chapter 7 Proceedings
14
     SKYLER AARON COOK,                                  Case No. 2:20-bk-01730-EFB
15
                                  Debtor.
16
17   JAMES E. CROSS, TRUSTEE,
                                                         Adversary No. 2:21-ap-00336-EFB
18                                Plaintiff,
19
     vs.
                                                         THIRD AMENDED NOTICE OF
20                                                       DEPOSITION OF SKYLER A. COOK
     VALLIANCE BANK, SHELBY BRUHN, and
21   KATHERINE S. BRUHN,
22
                                  Defendants.
23
24            PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 30(b)(6), made

25   applicable in bankruptcy cases by Federal Rule of Bankruptcy Procedure 7030, Defendants Valliance
26   Bank, Shelby Bruhn and Katherine S. Bruhn, by and through undersigned counsel, will take the
27
     deposition of Skyler A. Cook by stenographic and audiovisual means upon oral examination before
28
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     an officer authorized to administer oaths at the following designated time and place (being amended
 1
 2   from September 8, 2023 at 9:00 a.m. MST):

 3            DATE:                           September 26, 2023

 4            TIME:                           09:00 a.m., MST
 5            LOCATION:                       Polsinelli PC
 6                                            One E. Washington Street, Suite 1200
                                              Phoenix, AZ 85004
 7
              The deposition will begin on September 26, 2023, at 09:00 a.m. MST, as noted above, and
 8
     continue until completed, up to a maximum of seven hours. You are requested to cause the witness
 9
     to appear as described in this Notice.
10
11            RESPECTFULLY SUBMITTED this 7th day of August, 2023.

12                                                       POLSINELLI PC
13                                                       By: /s/ Michael A. Campbell
14                                                          John Craiger
                                                            Matthew S. Layfield
15                                                          Michael A. Campbell

16                                                          Attorneys for Defendants Valliance Bank,
                                                            Shelby Bruhn, and Katherine S. Bruhn
17
18           I hereby certify that on August 7, 2023, I electronically transmitted the attached document to
     the Clerk's Office using the CM/ECF System for filing and transmittal of a Notice of Electronic Filing
19   to all CM/ECF registrants, which constitutes service, pursuant to L.R. Bankr. P. 9076-1:
20
21   /s/ Rebecca O’Brien

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Case 2:21-ap-00336-EPB                          2
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